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6                 IN THE UNITED STATES DISTRICT COURT FOR THE

7                         EASTERN DISTRICT OF CALIFORNIA

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9    JUAN REFUGIO SANCHEZ,              )       No. CV-F-05-346 OWW
                                        )       (No. CR-F-03-5165 OWW)
10                                      )
                                        )       ORDER DENYING PETITIONER'S
11                     Petitioner,      )       MOTION FOR RECONSIDERATION
                                        )       OF DENIAL OF REQUEST FOR
12               vs.                    )       CERTIFICATE OF APPEALABILITY
                                        )
13                                      )
     UNITED STATES OF AMERICA,          )
14                                      )
                                        )
15                     Respondent.      )
                                        )
16                                      )

17         Petitioner's motion for reconsideration of the denial of his

18   request for certificate of appealability is DENIED.

19         IT IS SO ORDERED.

20   Dated:   December 31, 2008             /s/ Oliver W. Wanger
     668554                            UNITED STATES DISTRICT JUDGE
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